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            Gerardo Valdivia
         ~' 9347 Slauson Avenue
            Pico Rivera, CA 90660
                                                                       20 3 ~P~ 17 PCB ~ ~ ~ ~
            In Pro Per                                                              • .;i ~ ~ COU^T


                                        UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
 r,
                                              WESTERN D1VIS10N

         i
                                                           CASE NO.:                     G,Y'
                INNOVATIVE SPORTS                          2:22-CV07303-TJH- ~~
                MANAGEMENT,INC., dlb/a
                INTEGRATED SPORTS MEDIA
                                                           DATE: j ~' ~                   ~'~ ~
 II                            Plaintiff,                  HOUR: (c.~ : m                 ~ -`~ "
 ~,
                       vs.                                 DEPT: ~('_ ~;`(1 t.l) IS     S~'.~.J
                GERARDO VALDIVIA,
 ~ ~.           individually
                                                           ~d~ G'v
                and d/b/a TONDERO PERUVIAN                 NOTICE OF MOTION AND
 i •l           CUISINE,                                   MOTION TO COMPEL
                                                           PRODUCTION OF DOCUMENTS;
 l~                                                        MEMORANDUM OF POINTS AND
                                                           AUTHORITIES IN SUPPORT
 i r,
                               Defendants
         j
 1-

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 `7                                            MOTION TO COMPEL

,~'          AND NOW,comes the Defendant, Gerardo Valdivia, by and through himself, pro se, to
'
-~           file the motion compel and in support thereof avers as follows:

''
~  ~ I. INTRODUCTION

             1. The Defendant has served discovery requests on the Plaintiff who has failed to comply
 -           with their obligations to respond by serving evasive and incomplete responses to the i
             discovery.

}i,          2. Based on the foregoing and pursuant to the authorities cited herein, the Defendant is

                                                                                                      i
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             requesting an ORDER compelling the Plaintiff to serve complete responses to the
             discovery requested as well as the imposition of sanctions for the Plaintiff's willful
             disregard to their discovery obligations.

             II. LEGAL STANDARDS

             3. A court may compel discovery responses when "a party fails to answer and
             interrogatory submitted under Rule 33, or if a party, in response to a request for:
             inspection submitted under Rule 34, fails to respond that inspection will be permitted as
             requested. ..." FED. R. CIV. P.37(a)(2)(B).

             4. Pursuant to Federal Rule of Civil Procedure 26(b), parties are entitled to discovery' i
             "regarding any nonprivileged matter that is relevant to any party's claim or defense and;'
             proportional to the needs of the case." Fed. R. Civ. P. 26(b)(1).

             7. Rule 26 is "construed broadly to encompass any matter that bears on, or that
             reasonably could lead to other matters that could bear on, any issue that is or may be in
             the case." Energy Power (Shenzhen) Co. v. Wang, No. 13-cv-11348, 2014 WL 4687784,
 f ~:        at *2 (D. Mass. Sept. 17, 2014)(quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S.
 t ~ (.      340, 351 (1978)).
     ,;      8. "District courts exercise broad discretion to manage discovery matters," Heidelberg
 l           Ams., Inc. v. Tokyo Kikai Seisakusho, Ltd., 333 F.3d 38, 41 (1st Cir. 2003), and "to tailor
    , I      discovery narrowly," Cutter v. HealthMarkets, Inc., No. 10-cv-11488, 2011 WL 613703,
 l '~
             at *2 (D. Mass. Feb. 10, 2011) (quoting Crawford-El v. Britton, 523 U.S. 574, 598
! ~~ !
            (1998)). When exercising this discretion, courts are mindful of the proportionality
?R)
             considerations articulated in Rule 26(b)(1).Fed. R. Civ. P. 26(b)(1).
,j
             9. "A court must limit discovery if it determines that the discovery sought is (1)
             unreasonably cumulative or duplicative, or is obtainable from some other source that is
~;           more convenient, less burdensome, or less expensive;(2)the party seeking discovery has

.',;         had ample opportunity by discovery in the action to obtain the information sought; or(3)

,
,
          i the burden or expense of the proposed discovery outweighs its likely benefit,
                                                                                          taking into
             account the needs of the case, the amount in controversy, the parties' resources, the
,t,
             importance of the issues at stake in the litigation, and the importance of the projected
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                discovery in resolving the issues." In re New England Compounding Pharmacy, Inc.
                Prods. Liab. Litig., No. 13-cv-02419, 2014 WL 12814933, at *2(D. Mass. Feb. 7, 2014);
    ~           see also Fed. R. Civ. P. 26(b)(2)(C).
 9

                10. As the party resisting discovery, Defendants bear "the burden of showing some)
                sufficient reason why discovery should not be allowed." Flag Fables, Inc. v. Jean Ann's
~,              Country Flags and Crafts, Inc., 730 F. Supp. 1165, 1186 (D. Mass. 1989)(citation and
                internal quotation marks omitted).

                11. Merely because compliance with a "Request for Production" would be costly or

~~        ii    time consuming is not ordinarily sufficient reason to grant a protective order where the
 I ,,, I :.     requested material is relevant and necessary to the discovery of evidence. .. . [Where]
                the plaintiff has a demonstrable need for the documents, the defendant undisputedly has.
it
                possession of them, and the plaintiff has no other access to them ....the defendant has a
~~              duty pursuant to Rule 34 to produce [responsive documents]. Kozlowski v. Sears,
~-             Roebuck & Co., 73 F.R.D. 73, 76(D. Mass. 1976)(internal citations omitted).

!~~            III. QUESTIONS PRESENTED

t               12. Should The Motion To Compel Be Granted?

    ~)         (Suggested Answer: Yes)
(-             IV .ARGUMENT

               A. PLAINTIFFS' DISCOVERY REQUESTS ARE NARROWLY TAILORED,
               DIRECTLY RELEV ANT AND NOT UNDULY BURDENSOME.
~ti            13. Plaintiffs' discovery requests are narrowly tailored and seek information that is'
~~             directly relevant to Defendant's business relationship with the Plaintiff as well as the
,,             actions inducing reliance and performance of the Plaintiff in addition to the misconduct
           r                                                                                           ;
               and breaches complained of in the instant matter; all of which fall within the scope of~
               discovery pursuant to the legal standards identified herein thereby warranting the instant)
,~
          I ., motion to compel.
,~
               B. DEFENDANT HAS WILLFULLY REFUSED TO COMPLY WITH DISCOVERY
                                                                                                             ~
~;.
               OBLIGATIONS
                                                                                                       3
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                 14. Rule 26 is "construed broadly to encompass any matter that bears on, or that i
        ,I
                 reasonably could lead to other matters that could bear on, any issue that is or inay be in
                 the case." Energy Power (Shenzhen) Co. v. Wang, No. 13-cv-11348, 2014 WL 4687784,
                at *2 (D. Mass. Sept. 17, 2014)(quoting Oppenheimer Fund, lnc. v. Sanders, 437 U.S.i
                                                                                                    ~,
                340, 351 (1978)).
                                                                                                    is
 I~             15. As the party resisting discovery, Defendants bear "the burden of showing some;
                sufficient reason why discovery should not be allowed." Flag Fables, Inc. v. Jean Ann's'
                Country Flags and Crafts, Inc., 730 F. Supp. 1165, 1186 (D. Mass. 1989)(citation and;,;
                internal quotation marks omitted).
 ~;
                16. Request for Admissions
 k ~)

                The request for admissions are incomplete with unmeriotoriuis objections such as a
 ~~         i
            i
                "Defendant's Request for Admission No. 5 is unintelligible. As such Plaintiff cannot
 I~
                ascertain Defendant's request and on that basis Request for Admission No. I is denied."
!~ ,
                17. Request for SPecial Interrogatories
 f •~
        1       Almost all requests were responded with a frivolous response such as :Objection.
 1M
                INNOVATIVE SPORTS MANAGEMENT, INC. objects to each and every, all and
 l e,           singular, of the items listed as Defendant's Request for Production No. 13 as follows:

'
I       Attorney- Client privilege; work product privilege; the privileges accorded under the

 l ~ '~
        United States Constitution and the Constitutions of one or more of the fifty states, the

 ~ ,~   privileges accorded under the rights of privacy of third parties, including but not limited'
        to, INNOVATIVE SPORTS MANAGEMENT,INC., the privileges accorded other third
 Ott
        parties, including but not limited to, those persons and parties who are listed and
,~                                                                                                 ~~
        described in the documents herein; that the books, letters, papers and files, and each of
,, s the same, constitute
                               proprietary information, constitute a trade secret, constitute,
                                                                                                   ;;
,;      information which INNOVATIVE SPORTS MANAGEMENT, INC. has a reasonable!
-- ;.
        expectation of privacy and is subject to a right of privacy; constitute secrets, formulas,
       trade secrets, and business information. INNOVATIVE SPORTS MANAGEMENT,INC. '
,; ~ ~
~- j furthermore objects on the basis that the document request is overly broad, and moreover,j
-'~ ~ I         seeks   documents    which   are     extremelY   voluminous. INNOVATIVE        SPORTS
                                                                                                       a
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               MANAGEMENT, INC. also objects that some or all of these books, letters, papers, and'
               files, are available to the propounding party through other and alternative sources,
               including but not limited to, third parties herein. INNOVATIVE SPORTS
               MANAGEMENT,INC. also objects on the basis of the rights of privacy of third parties
  y       ~:   in that the person and parties herein would have a reasonable expectation of privacy

  r>       i   thereunder. INNOVATIVE SPORTS MANAGEMENT, INC. also objects on the basis,f
             that the request seeks information that is irrelevant and not proportional to the needs ofj~ ~
  .        ,
             the case. Even simple information as licenses are being objected by Plaintiff. As you can
  ;~ I
               see attached.
  ~p
               18. Request for production
  ~ ~: i
               Almost all requests were responded with a frivolous response such as :Objection.
  kl      '
  i INNOVATIVE SPORTS MANAGEMENT, INC. objects to each and every, all and
'
I   singular, of the items listed as Defendant's Request for Production No. 13 as follows:

  l=           Attorney- Client privilege; work product privilege; the privileges accorded under the
               United States Constitution and the Constitutions of one or more of the fifty states, the
  l -3
               privileges accorded under the rights of privacy of third parties, including but not limited
  t~
               to, INNOVATIVE SPORTS MANAGEMENT,INC., the privileges accorded other third
   i~
  parties, including but not limited to, those persons and parties who are listed and
'
~ described in the documents herein; that the books, letters, papers and files, and each of
         ,i
  ~, ; , the same, constitute proprietary information, constitute a trade secret, constitute
               information which INNOVATIVE SPORTS MANAGEMENT, INC. has a reasonable:
  ~ ~'
               expectation of privacy and is subject to a right of privacy; constitute secrets, formulas,
 ~'R1
               trade secrets, and business information. INNOVATIVE SPORTS MANAGEMENT,INC..
 ,~
               furthermore objects on the basis that the document request is overly broad, and moreover,
 „ i
 - -- seeks            documents       which are extremely       voluminous. INNOVATIVE SPORTS
 ,; I,
               MANAGEMENT, INC. also objects that some or all of these books, letters, papers, andl'
 ,,~           files, are available to the propounding party through other and alternative sources,~

 ,,;           including   but   not    limited   to, third   parties   herein. INNOVATIVE SPORTS
               MANAGEMENT,INC. also objects on the basis of the rights of privacy of third parties;
'c,
               in that the person and parties herein would have a reasonable expectation of privacy
                                                                                                        s
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       ~i

            that the request seeks information that is irrelevant and not proportional to the needs of
            the case. Even simple information as licenses are being objected by Plaintiff. As you can:
            see attached.

                                       CERTIFICATE OF CONFERENCE

            The Plaintiff presented the Defendant's counsel with these requests for information in

            good faith for resolution of discovery matters without the involvement of Court. The
            Defendant by and through Opposing Counsel responded with the frivolous and erroneous
            objections referenced and exhibited herein. The Plaintiff hereby certifies that a good faith.
            effort to resolve the discovery requests in the instant matter without the involvement of
            Court has been made to no avail thereby warranting the instant motion to compel.

                                                 CONCLUSION

            WHEREFORE Plaintiffs respectfully request that the Court compel Defendant to provide
            complete responses to Plaintiffs' interrogatories and requests for production of

 ,,~ ;~ documents within ten days of the Court's Order under penalty of contempt for failure to
        do so in addition to issuing sanctions against the Defendant for their willful refusal to
            comply.

            DATED: March 30, 2023




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                                                  DECLARATION OF GERARDO VALDIVIA

                         As the party resisting discovery, Defendants bear "the burden of showing some sufficient reason ' I
 '                      why discovery should not be allowed." Flag Fables, Inc. v. Jean Ann's Country Flags and Crafts,
                        Inc., 730 F. Supp. 1165, 1186(D. Mass. 1989)(citation and internal quotation marks omitted).
 ~                      16. Request for Admissions
                  ~     The request for admissions are incomplete with unmeriotoriuis objections such as a "Defendant's j
                  ~     Request for Admission No. 5 is unintelligible. As such Plaintiff cannot ascertain Defendant's          ~
                        request and on that basis Request for Admission No. I is denied."
 '
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                        Almost all requests were responded with a frivolous response such as :Objection. INNOVATIVE
 '                      SPORTS MANAGEMENT,INC. objects to each and every, all and singular, of the items listed
                        as Defendant's Request for Production No. 13 as follows: Attorney- Client privilege; work              ~i
 4       ~              product privilege; the privileges accorded under the United States Constitution and the                  j
 ,?                     Constitutions of one or more of the fifty states, the privileges accorded under the rights of          ~~
                        privacy of third parties, including but not limited to, INNOVATIVE SPORTS MANAGEMENT,
 ~ ~i                   INC., the privileges accorded other third parties, including but not limited to, those persons and
                        parties who are listed and described in the documents herein; that the books, letters, papers and
         ~;            files, and each of the same, constitute proprietary information, constitute a trade secret, constitute
          i            information which INNOVATIVE SPORTS MANAGEMENT,INC. has a reasonable expectation;
 ~,                    of privacy and is subject to a right of privacy; constitute secrets, formulas, trade secrets, and
                       business information. INNOVATIVE SPORTS MANAGEMENT,INC. furthermore objects on
 ~;                    the basis that the document request is overly broad, and moreover, seeks documents which arc
                       extremely voluminous. INNOVATIVE SPORTS MANAGEMENT,INC. also objects that some
 i .;                  or all of these books, letters, papers, and files, are available to the propounding party through
                       other and alternative sources, including but not limited to, third parties herein. INNOVATIVE
 ~~                    SPORTS MANAGEMENT,1NC. also objects on the basis of the rights of privacy of third parties
                      in that the person and parties herein would have a reasonable expectation of privacy thereunder.
 (~                    INNOVATIVE SPORTS MANAGEMENT,INC. also objects on the basis that the request seeks
                       information that is irrelevant and not proportional to the needs of the case. Even simple
 ~;                   information as licenses are being objected by Plaintiff. As you can see attached.
                       18. Request for production
 I~                    Almost all requests were responded with a frivolous response such as :Objection. INNOVATIVE
              j       SPORTS MANAGEMENT,INC. objects to each and every, all and singular, of the items listed
             i        as Defendant's Request for Production No. 13 as follows: Attorney- Client privilege; work
.~~~         ~        product privilege; the privileges accorded under the United States Constitution and the
                      Constitutions of one or more of the fifty states, the privileges accorded under the rights of
,~                    privacy of third parties, including but not limited to, INNOVATIVE SPORTS MANAGEMENT,
                      INC., the privileges accorded other third parties, including but not limited to, those persons and ';
                      parties who are listed and described in the documents herein; that the books, letters, papers and
                      files, and each of the same, constitute proprietary information, constitute a trade secret, constitute ; ;
,;                    information which INNOVATIVE SPORTS MANAGEMENT,INC. has a reasonable expectation
                      of privacy and is subject to a right of privacy; constitute secrets, forniulas, trade secrets, and
,,~                   business information. INNOVATIVE SPORTS MANAGEMENT,INC. furthermore objects on
                      the basis that the document request is overly broad, and moreover, seeks documents which are           I
,;                    extremely voluminous. INNOVATIVE SPORTS MANAGEMENT,INC. also objects that some
                      or all of these books, letters, papers, and files, are available to the propounding party through
                      other and alternative sources, including but not limited to, third parties herein. INNOVATIVE
                      SPORTS MANAGEMENT,INC. also objects on the basis of the rights of privacy of third parties ~ '
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          I ~ in that the person and parties herein would have a reasonable expectation of privacy thereund
                                                                                                               er.
              INNOVATIVE SPORTS MANAGEMENT,INC. also objects on the basis that the request seeks
              information that is irrelevant and not proportional to the needs of the case. Even simple
              information as licenses are being objected by Plaintiff. As you can see attached.
              CERTIFICATE OF CONFERENCE
              The Plaintiff presented the Defendant's counsel with these requests for information in
              good faith for resolution of discovery matters without the involvement of Court. The Defendan
                                                                                                                 t
              by and through Opposing Counsel responded with the frivolous and erroneous objection
                                                                                                          s
              referenced and exhibited herein. The Plaintiff hereby certifies that a good faith effort
                                                                                                       to resolve
 ~            the discovery requests in the instant matter without the involvement of Court has been made
                                                                                                               to
     _      ~ no avail thereby warranting the instant motion to compel.
          !I
               I declare under penalty of Perjury and under the alws of California
 ~p
               Dated 3/30/2023
 ~ ~~i         Gerardo Valdivia



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     _      ~(                                   PROOF OF SERVICE
                                    STATE OF CALIFORNIA,COUNTY OF LOS ANGELES

             ` I am employed in the County of LOS ANGELES, State of California. I am over the agc of 18
               and not a party to the within action. My business address is 549 Wilshire Blvd #2171 Beverly
     `         Hills CA 9021 1-3 104

                  On Today's Date, I served the foregoing documents described as NOTICE OF MOTION AND
                  MOTION TO COMPEL PRODUCTION OF DOCUMENTS; MEMORANDUM OF POINTS
 f~
                  AND AUTHORITIES IN SUPPORT attached hereto on all interested parties in this action by the
                  method indicated below and to the following addresses:

 ,~               Thomas P. Riley, SBN 194706
                  LAW OFFICES OF THOMAS P. RILEY, P.C.
 ~t               First Library Square -
                  1114 Fremont Avenue South Pasadena, CA 91030-3227
     l ii         Tel: 626-799-9797 Fax: 626-799-9795 TPRLAW@att.net
                  Attorneys for Plaintiff Innovative Sports Management, Inc.
     II           dfUla Integrated Sports Media

!~'.
                 [x ]BY MAIL - I deposited such envelope in the mail at Los Angeles, California. The envelope
 fi              was mailed with postage thereon fully prepaid. 1 am "readily familiar" with the firm's practice of
                 collection and processing correspondence for mailing. Under that practice it would be deposited
 i~              with the U.S. Postal Service on that same day with postage thereon fully prepaid at Los Angeles,
                 California in the ordinary course of business.
 I
                 []BY PERSONAL SERVICE - I caused such envelope to be delivered by a process server
 i (+            employed by [Process Server].

 l~              []VIA FACSIMILE- I faxed said document, to the offices) of the addressees) shown above,
                 and the transmission was reported as complete and without error.
 f
                 [x ](State) I declare under penalty of perjury under the laws of the State of California that the
 t ~~            above is true and correct.

~s~              Executed on 04/12/2023 at Los Angeles, California.
>i
                 NAME ART CER                PROCESS SERVER REG # 202000027
                 SIGNATURE
                                                                                                                         i ';



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